Case 2:22-cv-00293-JRG        Document 599 Filed 02/16/24     Page 1 of 4 PageID #:
                                       59588


                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

NETLIST, INC.,                         )
                                       )
            Plaintiff,                 )
                                       )   Case No. 2:22-cv-293-JRG
      vs.                              )
                                       )   JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO., LTD;          )   (Lead Case)
SAMSUNG ELECTRONICS AMERICA,           )
INC.; SAMSUNG SEMICONDUCTOR            )
INC.,                                  )
                                       )
            Defendants.                )

NETLIST, INC.,                         )
                                       )
            Plaintiff,                 )
                                       )
                                           Case No. 2:22-cv-294-JRG
      vs.                              )
                                       )
                                           JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC.;               )
MICRON SEMICONDUCTOR                   )
PRODUCTS, INC.; MICRON                 )
TECHNOLOGY TEXAS LLC,                  )
                                       )
            Defendants.                )

      NETLIST, INC.’S REPLY IN SUPPORT OF ITS MOTION FOR PARTIAL
       SUMMARY JUDGMENT ON SAMSUNG’S INVALIDITY DEFENSES
                                 (DKT. 343)




                                                                                      )
    Case 2:22-cv-00293-JRG          Document 599 Filed 02/16/24               Page 2 of 4 PageID #:
                                             59589


         Samsung’s argument that the issue of whether Samsung could raise JEDEC Proposals in IPRs

is a “disputed fact” is simply wrong.1 It is not a dispute of fact, it is at most a dispute of law ripe for

decision. But this Court has previously resolved this dispute of law, granting summary judgment in

Netlist’s favor on this very issue as to JEDEC materials in Samsung I. See Case No. 2:21-CV-00463-

JRG, Dkt. 432 at 3.

         Samsung now claims, without support, that “unresolved, material facts remain as to whether

the JEDEC Proposals are printed publications.” Opp. at 2. This is a red herring. Samsung has

repeatedly argued (as its expert in this case contends) that JEDEC proposals reflect the knowledge of

a POSITA. See, e.g., Case No. 2:21-CV-00463-JRG, Dkt. 426, 127:3-6 (Pretrial Conference, M.

McKeon arguing) (“And that’s what we’re doing with respect to JEDEC. We’re looking at the

documentation, and we’re -- we’re going to present to the jury that this is evidence of one of ordinary

skill in the art would think.”). Federal Circuit case law is settled that the PTAB can properly consider

“the skilled artisan’s knowledge when determining whether it would have been obvious to modify the

prior art.” Koninklijke Philips N.V. v. Google LLC, 948 F.3d 1330, 1337 (Fed. Cir. 2020); see also Randall

Mfg. v. Rea, 733 F.3d 1355, 1362-63 (Fed. Cir. 2013) (“the knowledge of such an artisan is part of the

store of public knowledge that must be consulted when considering whether a claimed invention

would have been obvious”). Samsung has not—and cannot—contest this black letter law.

         The point of a Sotera stipulation is to provide clarity regarding what invalidity defenses remain

live in the district court pending institution of IPR. The reality is Samsung wants the ability to raise

JEDEC materials in IPRs with no repercussions. The Court should again grant Netlist’s motion.




1
 Samsung points out that Netlist sought director review of the ʼ608 patent as a fact supporting its
opposition. The request for director review was denied on January 31, 2024. Ex. 4.


                                                   -1-                                                    )
 Case 2:22-cv-00293-JRG   Document 599 Filed 02/16/24         Page 3 of 4 PageID #:
                                   59590


Dated: February 7, 2024             Respectfully submitted,

                                    /s/ Jason G. Sheasby

                                    Samuel F. Baxter
                                    Texas State Bar No. 01938000
                                    sbaxter@mckoolsmith.com
                                    Jennifer L. Truelove
                                    Texas State Bar No. 24012906
                                    jtruelove@mckoolsmith.com
                                    MCKOOL SMITH, P.C.
                                    104 East Houston Street Suite 300
                                    Marshall, TX 75670
                                    Telephone: (903) 923-9000
                                    Facsimile: (903) 923-9099

                                    Jason Sheasby (pro hac vice)
                                    jsheasby@irell.com
                                    Annita Zhong, PhD (pro hac vice)
                                    hzhong@irell.com
                                    Thomas C. Werner (pro hac vice)
                                    twerner@irell.com
                                    Andrew Strabone (pro hac vice)
                                    astrabone@irell.com
                                    Yanan Zhao (pro hac vice)
                                    yzhao@irell.com
                                    Michael W. Tezyan (pro hac vice)
                                    mtezyan@irell.com
                                    IRELL & MANELLA LLP
                                    1800 Avenue of the Stars, Suite 900
                                    Los Angeles, CA 90067
                                    Tel. (310) 277-1010
                                    Fax (310) 203-7199

                                    Rebecca Carson (pro hac vice)
                                    rcarson@irell.com
                                    IRELL & MANELLA LLP
                                    840 Newport Center Drive, Suite 400
                                    Newport Beach, CA 92660

                                    Attorneys for Plaintiff Netlist, Inc.




                                    -2-
 Case 2:22-cv-00293-JRG           Document 599 Filed 02/16/24             Page 4 of 4 PageID #:
                                           59591


                                  CERTIFICATE OF SERVICE

       I hereby certify that, on February 7, 2024, a copy of the foregoing was served to all Samsung

counsel of record.

                                                       /s/ Yanan Zhao
                                                       Yanan Zhao

             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       I hereby certify that the foregoing document and exhibits attached hereto are authorized to be

filed under seal pursuant to the Protective Order entered in this Case.

                                                       /s/ Yanan Zhao
                                                       Yanan Zhao




                                                 -3-
